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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

COMPASS BANK,
    Plaintiff,

vs.                                                   CASE NO.:       8:17-mc-111-T30-MAP

ALEXIS ALFREDO ALARCON,
     Defendant,

FELD ENTERTAINMENT, INC.,
      Garnishee.
_________________________________

                             NOTICE OF CONTINUING WRIT OF
                        GARNISHMENT AND CERTIFICATE OF SERVICE

       Pursuant to F.S. 77.055, you are hereby notified that a Continuing Writ of Garnishment

Against Salary or Wages in this cause has been served on FELD ENTERTAINMENT, INC., and a

copy of the Garnishee's Answer that was received in Plaintiff's attorney's office on November 01,

2017, is attached hereto and by this referenced made a part hereof.

       You must move to dissolve the Continuing Writ of Garnishment within 20 days after the date

indicated on the Certificate of Service of this Notice if any allegation in the Plaintiff's Motion for

Writ of Garnishment is untrue.

DATED this 1st day of November, 2017.                 ROLFE & LOBELLO, P.A.
                                                      /s/ Lawrence C. Rolfe
                                                      _______________________________
                                                      LAWRENCE C. ROLFE
                                                      Fla. Bar No.: 164801
                                                      Post Office Box 4400
                                                      Jacksonville, Florida 32201-4400
                                                      (904) 358-1666 / Fax:(904) 677-5836
                                                      Primary E-Mail: lcr@rolfelaw.com
                                                      Secondary E-Mail: tmm@rolfelaw.com
                                                      Attorney for Plaintiff
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                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy hereof has been furnished, by U.S. Mail, to Alexis
Alfredo Alarcon, 11150 Lost Creek Terrace #210, Bradenton, Florida 34211, this 1st day of
November, 2017.

                                               ROLFE & LOBELLO, P.A.

                                               /s/ Lawrence C. Rolfe
                                               _______________________________
                                               LAWRENCE C. ROLFE
                                               Fla. Bar No.: 164801

tmm-20171884.001
